

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-77,579-01






TOMMY LYNN HAYES, Relator


v.


HON. MARC CARTER, JUDGE OF THE 228th DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1157419-A
			

FROM HARRIS COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 228th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  Relator contends that the district court
entered an order designating issues on October 14, 2010.

	Respondent, the Judge of the 228th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in its order and then have the District Clerk
submit the record on such application.  In either case, Respondent's answer shall be submitted within
30 days of the date of this order.  This application for leave to file a writ of mandamus will be held
in abeyance until Respondent has submitted his response.


Filed: May 16, 2012

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